                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

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D.V.D., et al.,                        )
                                       )
                Plaintiffs,            )
                                       )                     Civil Action No.
      v.                               )                     25-10676-BEM
                                       )
U.S. DEPARTMENT OF HOMELAND            )
SECURITY, et al.,                      )
                                       )
                Defendants.            )
_______________________________________)

                          TEMPORARY RESTRAINING ORDER

MURPHY, J.

       This matter comes before the Court on Plaintiff D.V.D., M.M., E.F.D., and O.C.G.’s

Motion for a Temporary Restraining Order and Preliminary Injunctive Relief. Having considered

the motion and related filings, the Court ORDERS as follows:

       1) Plaintiffs’ Motion for a Temporary Restraining Order is GRANTED in part.

       2) Defendants, and all of their officers, agents, servants, employees, attorneys, successors,

          assigns, and persons acting in concert or participation with them are hereby ENJOINED

          and RESTRAINED from:

          a) Removing Plaintiffs D.V.D., M.M., and E.F.D. from the United States to a third

              country, i.e., a country other than the country designated for removal in the prior

              immigration proceedings, UNLESS and UNTIL Defendants provide Plaintiffs

              D.V.D., M.M. and E.F.D., and their respective counsel, with written notice of the

              third country to where they may be removed, and UNTIL Defendants provide a

              meaningful opportunity for Plaintiffs D.V.D., M.M. and E.F.D. to submit an
              application for protection, including withholding of removal under 8 U.S.C.

              § 1231(b)(3) and protection under the Convention Against Torture (CAT) to the

              immigration court, and if any such application is filed, UNTIL Plaintiffs D.V.D.,

              M.M., and E.F.D. receive a final agency decision on any such application;

         b) Removing any individual subject to a final order of removal from the United States

              to a third country, i.e., a country other than the country designated for removal in

              immigration proceedings, UNLESS and UNTIL Defendants provide that

              individual, and their respective immigration counsel, if any, with written notice of

              the third country to where they may be removed, and UNTIL Defendants provide

              a meaningful opportunity for that individual to submit an application for CAT

              protection to the immigration court, and if any such application is filed, UNTIL that

              individual receives a final agency decision on any such application.

      3) No security bond is required under Federal Rule of Civil Procedure 65(c).

      4) This Order shall remain in effect until the Court rules on Plaintiffs’ motion for a

         preliminary injunction.

      5) The Court’s previous order, Dkt. 12, remains in effect.



So Ordered.

                                                /s/ Brian E. Murphy
                                                Brian E. Murphy
Dated: March 28, 2025                           Judge, United States District Court




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